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                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF NEW YORK


__________________________________

UNITED STATES OF AMERICA,

            Plaintiff,

            v.                               SCHEDULING ORDER

PATRICK ACKROYD,                             Criminal No. 05-CR-360A(Sr)

          Defendant.
__________________________________


       On February 10, 2006, the above-named defendant was arraigned in open court
pursuant to Federal Rules of Criminal Procedure 10 and Local Rule 33, and entered
a plea of not guilty pursuant to to Fed.R.Crim.P. 11(a)(1). Immediately following
arraignment, a pretrial conference was held with counsel and the following motion
schedule was set:

      (1)   All voluntary discovery shall be completed by March 10, 2006.

      (2)   All pretrial motions, both dispositive and non-dispositive, including
            all supporting papers and memoranda of law in support thereof, shall
            be filed by April 14, 2006.

      (3)   All responses to pretrial motions, including all supporting papers and
            memoranda of law in support thereof, filed in accordance with the
            preceding paragraph shall be filed by April 28, 2006.

      (4)   Oral argument on any pretrial motions shall be heard on May 12,
            2006, at 10:00 A.M.

      (5)   IF NO MOTIONS ARE FILED ON OR BEFORE THE AFORESAID
            DATE, THE GOVERNMENT IS HEREBY ORDERED TO APPLY FOR
            A TRIAL DATE FROM HON. RICHARD J. ARCARA NO LATER THAN
            THE NEXT BUSINESS DAY FOLLOWING THE MOTION DEADLINE
            DATE.
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      In accordance with the Second Circuit Speedy Trial Guidelines, Part I(C)(3)(a)
and (b), and upon the authority of United States v Piontek, 861 F.2d 152, 154 (7th Cir.,
1988); United States v Montoya, 827 F.2d 143, 153 (7th Cir., 1987); United States v.
Wilson, 835 F2d 1440, 1444 (D.C. Cir., 1987; United States v Tibboel, 753 F.2d 608,
610 (7th Cir., 1985); and United States v Jodoin, 672 F.2d 232, 238 (1st Cir., 1982), the
period of time from February 10, 2006, until the date of making and/or filing of pretrial
motions is excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).

      If no motions are filed by the filing date set forth in paragraph (2), the case shall
be referred to the district court judge to whom the case is assigned for trial and the
speedy trial exclusion set forth above shall terminate as of the cutoff date for the filing
of motions set forth herein.

       Any requests for extension of the above dates must be in strict compliance with
Local Rule 12.2 of the Local Rules of Criminal Procedure for the Western District of
New York, which requires written application prior to the due date, made to the
courtroom deputy. Such application shall be made only after conferring with all other
parties and shall include a suggested rescheduled date, agreeable to all parties. As
a general rule, no request for an extension will be granted unless extraordinary
circumstances are present.

      Failure by any party to raise defenses or objections, or to make requests which
must be made prior to trial at the time set forth in this scheduling order or prior to any
extension made by the court shall constitute a waiver thereof. FedR.Crim.P. 12(f).

     Counsel for the parties are directed to provide the Court with a courtesy
copy of Motions, Responses, Replies, Memoranda of Law, and Exhibits clearly
marked.

       SO ORDERED.

                                                 /s/ H. Kenneth Schroeder, Jr.
                                                 _________________________________
                                                 H. KENNETH SCHROEDER, Jr.
                                                 United States Magistrate Judge


DATED:        February 14, 2006
              Buffalo, New York
